                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

  IN RE:                            : Nos. 1:19-bk-04714-HWV
     FOX SUBACUTE AT                :      1:19-bk-04716-HWV
     MECHANICSBURG, LLC, FOX        :      1:19-bk-04717-HWV
     SUBACUTE AT CLARA BURKE,       :      1:19-bk-04715-HWV
     INC., FOX SUBACUTE AT SOUTH    :
     PHILADELPHIA, LLC, and FOX     :       Chapter 11
     SUBACUTE AT WARRINGTON         :
                                    :        Jointly Administered
                                    :
              JOINT PLAN OF REORGANIZATION OF FOX SUBACUTE
            AT MECHANICSBURG, LLC, AND FOX SUBACUTE AT SOUTH
                             PHILADELPHIA, LLC

        Fox Subacute at Mechanicsburg, LLC (“Mechanicsburg”), and Fox Subacute at

 South Philadelphia, LLC (“South Philadelphia”) (individually a “Debtor” and collectively

 the “Debtors” or “Fox Subacute”) propose the following Plan of Reorganization (the

 “Plan”) with respect to their Chapter 11 cases:

                                           ARTICLE I
                                          DEFINITIONS


        Set forth below are various terms which shall, except where the context otherwise

 requires, have the respective meanings listed herein. All of the following meanings shall

 be applicable to the singular and plural forms of the following defined terms:

 1.1    Accounts Receivable shall mean sums owed to a Debtor for charges on account of

 a Debtor providing services, or rents owed to a Debtor.

 1.2    AC HSS Office Ventures II, LLC or AC HSS shall mean the current landlord of the

 South Philadelphia Facility.




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 1.3    Administrative Claim shall mean an administrative expense from and after

 November 1, 2019, the date on which the Debtors’ Chapter 11 Cases commenced, which

 is entitled to priority in accordance with Section 507(a)(1) of the Code and allowed under

 Section 503 of the Code.

 1.4    Administrative Professional Claim shall mean compensation and reimbursement of

 professionals, including attorneys, accountants, experts, consultants and realtors as allowed

 by the Court under Section 330 of the Code.

 1.5    Allowed Claim shall mean a Claim which is scheduled pursuant to the Code, or

 stipulated of record in this Chapter 11 Case, other than a Claim scheduled as disputed,

 contingent or unliquidated, or which is identified in a Court approved Stipulation filed of

 record in this Chapter 11 Case, or which has been filed pursuant to Section 502(a) of the

 Code, and with respect to which no objection to the allowance thereof has been

 interposed within the time allowed by the Court or Bankruptcy Code, or as to which any

 objection has been overruled (and to the extent so overruled) by a Final Order. An Allowed

 Claim shall not include any interest accruing on a Claim except as specifically authorized

 by the Plan.

 1.6    Assets shall mean all of the Debtors’ Personal Property.

 1.7    Cash shall mean cash and cash equivalents.

 1.8    Cash Collateral Motion shall mean that Motion filed by the Debtors on November

 1, 2019.




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 1.9      Cash Collateral Order shall mean the Order initially entered by the Bankruptcy

 Court on November 8, 2019, and all continuing Orders thereon as entered by the Court.

 1.10     Chapter 11 Case shall mean each of the Mechanicsburg and South Philadelphia

 proceedings commenced by voluntary petitions under Chapter 11 of the Code at Case Nos.

 1:19-bk-04714 and 1:19-bk-04717 respectively, in the United States Bankruptcy Court for

 the Middle District of Pennsylvania.

 1.11     Claim shall have the meaning as provided by Section 101(4) of the Code.

 1.12     Clara Burke shall mean Fox Subacute at Clara Burke, an affiliate of the Debtors

 which operates a skilled nursing facility in Montgomery County, Pennsylvania.

 1.13     Code or Bankruptcy Code shall mean the Bankruptcy Reform Act of 1978, as

 amended, 11 U.S.C. Sections 101, et seq., commonly referred to as the Bankruptcy Code.

 1.14     Contingent Claim shall mean any Claim for which the Debtors is not directly liable,

 is listed as contingent on the Schedules, and has not been determined otherwise by a Final

 Order.

 1.15     Court or Bankruptcy Court shall mean the United States Bankruptcy Court for the

 Middle District of Pennsylvania in which Court the Debtors’ Chapter 11 case is pending.

 1.16     Debtor shall mean either Mechanicsburg or South Philadelphia.

 1.17     Debtors shall mean more than one of each such Debtor.

 1.18     Disbursing Agent shall mean Robert E. Chernicoff, Esquire, of Cunningham,

 Chernicoff & Warshawsky, P.C., or any substitute person as such law firm shall designate.




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 1.19   Disputed Claim shall mean any Claim which is listed as disputed on the Schedules,

 or to which an objection to the allowance thereof has been interposed, and has not been

 determined otherwise by a Final Order.

 1.20   Distribution Date shall mean the day on which distribution to Class 5 Claim holders

 will be paid. Such Distribution Date shall be determined by the Disbursing Agent based

 upon whether or not a large number of Claims are being challenged so as to make

 distribution unfeasible or whether there are insufficient funds on hand to make a

 distribution for various reasons, including, but not limited to, the fact that a liquidation or

 collection of a sufficient amount of the Assets has not occurred. The Distribution Date

 may also be extended based upon a determination by the Disbursing Agent that liquidation

 of any remaining assets or payment from the Debtors into any fund to be used for

 distribution to Class 5 Claim holders is imminent such as to warrant a delay.

 1.21   Effective Date shall mean the Effective Date of the Plan which date shall be the first

 day of the month following sixty (60) days after the Confirmation Date becomes final, and

 shall not have been reversed, stayed, or adversely modified or amended. The Effective

 Date is as further set forth in Section 15.2 of the Plan and such date is subject to the right

 of the Debtors to request that the Court extend the Effective Date, including allowing

 sufficient time for the standard termination of the Pension Plan (as defined below).

 1.22   Facility shall mean one of the skilled nursing facilities operated by one of the

 Debtors.

 1.23   Facilities shall mean both of the Facilities operated by the two (2) Debtors.

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 1.24   Final Order shall mean an Order of the Bankruptcy Court which has not been

 reversed or stayed and to which:

               a.     The time to appeal or seek review, rehearing or certiorari has expired and
        no timely appeal has been filed, or

               b.     Any appeal has been finally resolved.

 1.25   Fox Subacute at Mechanicsburg or Mechanicsburg shall mean Fox Subacute at

 Mechanicsburg, LLC, a Debtor in the above Chapter 11 cases.

 1.26   Fox Subacute at Clara Burke or Clara Burke shall mean Fox Subacute at Clara

 Burke, Inc., a Debtor in the above Chapter 11 cases.

 1.27   Fox Subacute at South Philadelphia or South Philadelphia shall mean Fox Subacute

 at South Philadelphia, LLC, a Debtor in the above Chapter 11 cases.

 1.28   Fox Nursing Home Corp. or Fox Subacute at Warrington or Warrington shall mean

 Fox Nursing Home Corp. d/b/a Fox Subacute at Warrington, a Debtor in the above Chapter

 11 cases.

 1.29   Fox Subacute or Management shall mean Fox Subacute Management, Inc., an

 affiliate of each of the Debtors, which entity provides management services to each Debtor.

 1.30   FSA Realty Associates or FSA shall mean FSA Realty Associates, LLP an affiliate

 of the Debtors, and the landlord of the Mechanicsburg Facility.

 1.31   Intercreditor Agreement shall mean that certain Intercreditor Agreement entered

 into as of April 20, 2018, by and among PeoplesBank, Sabra Health Care, Clara Burke and

 Warrington with respect to certain lien priorities and rights by and among the parties to

 such Agreement.


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 1.32   James M. Foulke shall mean an individual who is the majority owner of each Debtor.

 1.33   Joseph F. Murray shall mean an individual who is the general, in-house counsel of

 the Debtors and is a minority owner of the Debtors.

 1.34   PeoplesBank shall mean PeoplesBank, A Codorus Valley Company, a banking

 institution which institution is a secured creditor of the Debtors.

 1.35   Personal Injury Suits or PI Suits shall mean any litigation brought against any of the

 Debtors for professional liability or malpractice, or any claims for premises liability or

 similar lawsuits.

 1.36   Personal Property shall mean each Debtors’ present and future accounts receivable,

 chattel paper, securities, partnership interests, motor vehicles, documents, equipment,

 furniture, general intangibles, inventory, and all products and proceeds thereof.

 1.37   Petition Date shall mean November 1, 2019.

 1.38   Plan means this Plan, and as it may be modified or amended, as is applicable.

 1.39   Priority Claim shall mean a Claim, other than an Administrative Claim or Tax

 Claim, as to which priority in payment is asserted pursuant to Section 507(a) of the Code.

 1.40   Priority Tax Claim shall mean a Tax Claim (as defined below), other than an

 Administrative Claim or a Secured Claim, as to which priority in payment is allowed

 pursuant to Section 507(a)(8) of the Code.

 1.41   Pro Rata shall mean the same proportion that a Claim in a particular class bears to

 the aggregate amount of all allowed Claims in such class.




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 1.42    Sabra HealthCare or Sabra shall mean Sabra HealthCare Pennsylvania, Inc., the

 landlord of the Clara Burke and Warrington Facilities, and a secured creditor of Clara

 Burke and Warrington.

 1.43    St. Agnes MOB, LLC shall mean the former landlord of the South Philadelphia

 Facility.

 1.44    Tax Claim shall mean a Claim, other than an Administrative Claim or a secured

 Claim, as to which priority in payment is allowed pursuant to Section 507(a)(8) of the

 Code.

 1.45    Warrington shall mean Fox Nursing Home Corp. d/b/a Fox Subacute at Warrington,

 an affiliate of the Debtor, which formerly operated a skilled nursing facility in Warrington,

 Bucks County, Pennsylvania.

 1.46    Any term which is used in this Plan which is not defined herein, but is used in the

 Bankruptcy Code or found in the Bankruptcy Code, has the meaning assigned to it in the

 Code.




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                                           2ARTICLE II
                     CLASSIFICATION OF CLAIMS AND INTERESTS


          Certain Claims and interests in this Case are divided into unclassified groups

 and are named as Classes for convenience only as follows:

 2.1      Class 1.      Professional Administrative Costs.


          2.1.1         Class 1A. The expenses and Claims of administration for compensation

 and reimbursement of professionals in the Mechanicsburg case, as allowed by the Court, under

 Section 330 of the Bankruptcy Code.

          2.1.2         Class 1B. The expenses and Claims of administration for compensation

 and reimbursement of professionals in the South Philadelphia case, as allowed by the Court, under

 Section 330 of the Bankruptcy Code.

 2.2      Class 2.      Administrative Claims.

          2.2.1 Class 2A. To the extent that they are allowed, all Administrative Claims and

 expenses of administration, other than those set forth in Class 1 or in any other Class, in the

 Mechanicsburg case, incurred during the administration of the proceeding, to the extent that same

 exist.

          2.2.2 Class 2B. To the extent that they are allowed, all Administrative Claims and

 expenses of administration, other than those set forth in Class 1 or in any other Class, in the South

 Philadelphia case, incurred during the administration of the proceeding, to the extent that same

 exist.




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 2.3    Class 3.        Priority Tax Claims.


        2.3.1 Class 3A.         All Claims to the extent that such are allowed pursuant to Section

 507(a)(8) of the Code, and as such Claims exist on the date of the filing of the Chapter 11 Petition

 in the Mechanicsburg Case, including, but not limited to any Priority Tax Claims of the United

 States of America, Internal Revenue Service, or any state or any local taxing authority, to the extent

 that any such Claim is not disputed, and are entitled to priority status under the Code.

        2.3.2 Class 3B.         All Claims to the extent that such are allowed pursuant to Section

 507(a)(8) of the Code, and as such Claims exist on the date of the filing of the Chapter 11 Petition

 in the South Philadelphia Case, including, but not limited to any Priority Tax Claims of the United

 States of America, Internal Revenue Service, or any state or any local taxing authority, to the extent

 that any such Claim is not disputed, and are entitled to priority status under the Code.

        The classified Claims and interests in this case are divided into classes as

 follows:

 2.4    Class 4.        PeoplesBank

        2.4.1 Pre-Petition, PeoplesBank granted a line of credit facility to the two (2) Debtors

 (the “Peoples Line of Credit”), Clara Burke and Warrington. Class 4 shall consist of the allowed,

 secured Claim of PeoplesBank under the Peoples Line of Credit.

        2.4.2 As of the Petition Date, the Debtors, Clara Burke and Warrington owed

 PeoplesBank the sum of approximately $5,500,000.00 on the Peoples Line of Credit. The Peoples

 Line of Credit is secured on all Personal Property of each of the Debtors, except for vehicles. Such

 lien is subject to any purchase money security interest of any other creditors entitled to priority

 under applicable non-bankruptcy law, and subsequent in priority to Sabra as to the Personal



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 Property (except for Accounts Receivable, as more fully set forth in the Intercreditor Agreement),

 and except for Vehicles.

 2.5    Class 5         General Unsecured Claims

        2.5.1 Class 5A          All other Claims which are not otherwise classified herein which are

 Allowed Claims of Mechanicsburg, including all non-priority, unsecured Claims against

 Mechanicsburg, and which are not disputed or contingent and are liquidated or otherwise have an

 allowed Claim, as defined in the Bankruptcy Code and the Rules of Bankruptcy Procedure, shall

 constitute the Class 6A unsecured Claims in this case.

        2.5.2 Class 5B          All other Claims which are not otherwise classified herein which are

 Allowed Claims of South Philadelphia, including all non-priority, unsecured Claims against South

 Philadelphia, and which are not disputed or contingent and are liquidated or otherwise have an

 allowed Claim, as defined in the Bankruptcy Code and the Rules of Bankruptcy Procedure, except

 for Class 6 Claims, shall constitute the Class 5B unsecured Claims in this case.

 2.6    Class 6         Personal Injury Suits

        2.6.1 Class 6A          Any Claims resulting from Personal Injury Suits from events which

 occurred as to Mechanicsburg are included as Class 6A Claims to be allocated to Mechanicsburg

 to the extent that any such Personal Injury Suit relates to the Debtor or the Facility where the events

 occurred that gave rise to any such Personal Injury Suit.

        2.6.2 Class 6B          Any Claims resulting from Personal Injury Suits from events which

 occurred as to South Philadelphia are included as Class 6B Claims to be allocated to South

 Philadelphia to the extent that any such Personal Injury Suit relates to the Debtor or the Facility

 where the events occurred that gave rise to any such Personal Injury Suit.



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 2.7    Class 7.        Equity Holders.

        2.7.1 The Mechanicsburg equity holders are James Foulke, the ninety percent (90%)

 holder of the equity, Joseph Murray, the five percent (5%) holder of the equity, and the Estate of

 Walter Dunsmore, which owns five percent (5%) of the equity, in such entity.

        2.7.2 The South Philadelphia equity holders are James Foulke, the ninety percent (90%)

 holder of the equity, and Joseph Murray, the ten percent (10%) holder of the equity, in such entity.

                                          3ARTICLE III
                       CLASSES NOT IMPAIRED OR UNCLASSIFIED
                                 UNDER THE PLAN


        The following classes of Claims are not impaired or are not to be considered

 classified under the Plan: Classes 1A, 1B, 1C, 1D, 2A, 2B, 3A, 3B, 6A and 6B.

                                          4ARTICLE IV
        TREATMENT OF UNIMPAIRED CLASSES OR UNCLASSIFIED CLAIMS


        The Claims of each of the classes listed as unimpaired or not classified in Article

 III, shall be paid and satisfied as follows:

 4.1    Class 1. Professional Administrative Claims.

        All Class 1A and Class 1B Claims, as allowed by the Court, shall be paid in cash on

 or before the Confirmation Date of this Plan or as otherwise agreed in writing by the

 claimant and the Debtors. The funds otherwise owed to professionals which the Court has

 not yet approved and are required by the Code to be approved by the Court shall be

 escrowed until necessary approvals have been obtained. The provisions of this Section 4.1

 are also subject to the terms of Article XIV of this Plan.



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 4.2     Class 2. Administrative Claims.

         4.2.1 All Class 2A and Class 2B Claims, as allowed by the Court shall be paid as they

 become due in the ordinary course of business, on or before the Effective Date of this Plan, or as

 soon as is reasonably administratively possible thereafter depending upon the Confirmation Date

 and depending upon the Debtors’ ability to physically write checks to pay such Claims, or as

 otherwise agreed by the claimant and the Debtors, whichever of these dates shall occur later.

 4.3     Class 3        Priority Tax Claims

 4.3.1     All priority tax Claims in Class 3A and Class 3B of all taxing authorities, shall include

 only pre-Petition taxes and interest accrued to the Petition Date only, and shall not include any

 penalties. Such penalties do not include any trust fund tax penalties which may have been

 assessed against the Debtors. All such Claims shall have credited against such Claim any post-

 Petition payments as to each such Claim. All Priority Tax Claims in Class 3 shall be paid in full

 on or before five (5) years after the Petition Date, together with interest at the rate of 3% per

 annum, which interest shall begin to accrue as of the Effective Date of the Plan. Such payments

 will be made on a regular monthly basis, and each such payment shall begin in the first calendar

 month after the Effective Date of the Plan.

 4.4     Class 6        Personal Injury Claims

         4.4.1 Any Class 6A and Class 6B Claims resulting from Personal Injury Suits shall

 nonetheless not receive a distribution under Section 5.2 of the Plan as Class 5 unsecured creditors,

 but rather, any payment thereof shall be as set forth in any order in a case allowing relief from the

 automatic stay and shall be limited to appropriate insurance proceeds (unless any order of tax court

 states otherwise) subject, however, to any sums which may be payable by the Debtor as to any



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 professional liability or liability insurance deductibles or as may be negotiated between the

 Debtors’ insurance companies, or any plaintiffs as to Personal Injury Suits.

        4.4.2 The Debtors, together with Clara Burke and Warrington, intend to set aside the sum

 of $500,000.00 to be held for payment of deductible amounts which may be owed by the Debtors,

 together with Clara Burke and Warrington, for Personal Injury Claims and the costs thereof as

 deductibles, to the extent either of the Debtors, Clara Burke or Warrington are liable for such

 deductibles. The professional liability policies provide that the Debtors are potentially liable for

 the first $100,000.00 of the costs of litigation and attorneys’ fees and for payment of judgments or

 settlements.

                                           ARTICLE V

                           TREATMENT OF IMPAIRED CLASSES


 5.1    Class 4         PeoplesBank

        5.1.1 PeoplesBank granted the Debtors and Clara Burke and Warrington one (1) loan.

 This loan is hereinafter the “Peoples Line of Credit,” on which approximately $5,500,000.00 was

 owed as the Petition Date. The Peoples Line of Credit is secured on all Personal Property of each

 of the Debtors, including each Debtor’s accounts receivable, but excluding vehicles, and subject

 to any purchase money security interest entitled to priority under non-bankruptcy law.

        5.1.2 During the course of the Cases, the Debtors have been making payments as to the

 Peoples Line of Credit. Pursuant to various Cash Collateral Orders, the Debtors and Clara Burke

 and Warrington initially had been paying interest only as to the Peoples Line of Credit. Starting

 with the Ninth Interim Cash Collateral Order, the Debtors have also been making payments of

 $50,000.00 per month beginning with the month of September 2020. Warrington also made a

 $700,000.00 payment to PeoplesBank. Such $50,000.00 per month payments and the $700,000.00

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 payment are believed to have been applied to the principal owed on the Peoples Line of Credit.

 The principal balance owed to PeoplesBank is approximately $3,400,000.00.

        5.1.3 As of the Effective Date, the amount owed on the Peoples Line of Credit will be

 calculated. This amount, which will include principal, accrued interest at the contract rate, late

 charges that accrued prior to the Petition Date, and any allowed costs and allowed and reasonable

 fees, will be determined and set as the New Peoples Secured Claim (“New Peoples Secured

 Claim”). No late charges that accrued after the Petition Date and prior to the Effective Date will

 be paid or included on the balances owed on the New Peoples Secured Claim. The New Peoples

 Secured Claim amount will be amortized and paid in equal monthly principal installments in the

 amount of Fifty Thousand Dollars ($50,000.00) each, plus interest at a floating rate equal to the

 Wall Street Journal prime lending rate plus one and one-half percent (1.5%) with a minimum rate

 of five percent (5.0%) per annum. Such payments will begin thirty (30) days after the Effective

 Date and shall continue on the first (1st) day of each calendar month thereafter. A late charge in

 the amount of five percent (5%) of the amount of the delinquent installment shall be due on any

 installment not paid within fifteen (15) days after the date such payment is due. All amounts then

 owed on the New Peoples Secured Claim will become due and payable upon the soonest to occur

 of: (a) the occurrence of a “Peoples Plan Default,” as defined below; or(b) sixty (60) months after

 the Effective Date (the “Term”); If a sale of any of the assets of any Debtor, or any assets of Clara

 Burke or Warrington, occurs, the New Peoples Secured Claim will be paid the net proceeds in

 accordance with lien priorities, up to the amount then owed on the New Peoples Secured Claim.

 Further, in the event that either the Clara Burke or Warrington Facility closes and either Clara

 Burke and/or Warrington cease business, all remaining proceeds of Accounts Receivable or cash

 proceeds after payment of appropriate of costs of any sale or administrative expenses, shall be paid

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 to PeoplesBank to be applied to the New Peoples Secured Claim. If the New Peoples Secured

 Claim is not paid in full from the sale of the Assets of a particular Debtor, or from a sale of any

 assets of Clara Burke or Warrington, then the remaining amount owed on the New Peoples Secured

 Claim will be amortized over the remaining months of the Term. After the New Peoples Secured

 Claim becomes due and payable in full, interest shall accrue on the principal balance outstanding

 thereunder at a floating rate equal to the Wall Street Journal prime lending rate plus two and one-

 half percent (2.50%) per annum. The Debtors may pay the New Peoples Secured Claim prior to

 maturity without payment of any prepayment fee or premium.

        5.1.4 For such time as any amount is outstanding under the New Peoples Secured Claim,

 the Debtors shall maintain “Eligible Accounts Receivable,” as defined in the Revolving Line of

 Credit Loan Agreement made as of April 20, 2018 between the Debtors and PeoplesBank (the

 “Loan Agreement”), and cash on deposit in concentration accounts maintained with PeoplesBank

 such that the sum of eighty percent (80%) of the Eligible Accounts Receivable plus ninety percent

 (90%) of cash on deposit in such accounts is at all times equal to or greater than 1.8 times the

 principal balance outstanding under the New Peoples Secured Claim (the “Required Collateral

 Level”). Beginning on the date on which the first payment is due on the New Peoples Secured

 Claim and continuing on the first (1st) day of each calendar month thereafter for so long as any

 amount is outstanding under the New Peoples Secured Claim, the Debtors shall provide to

 PeoplesBank: (a) a Borrowing Base Certificate reflecting their Eligible Accounts Receivable as of

 the fifteenth (15th) day of the immediately preceding month; (b) an aging of each of the Debtors’

 total outstanding accounts receivable as that date; (c) an aging report of each Debtor’s total

 outstanding post-petition payables as of that date; and (d) a schedule of cash currently held by each

 of the Debtors, listed by Debtor and by account. In addition to the installments of principal and


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 interest provided for in Section 5.1.3 of the Plan, the Debtors shall pay PeoplesBank a monthly

 monitoring fee in the amount of Five Hundred Dollars ($500.00).

        5.1.5 Each of the following shall constitute a “Peoples Plan Default:” (a) the failure of

 the Debtors to make any payment on the New Peoples Secured Claim required by Section 5.1.3 of

 the Plan when and as due, which failure continues for more than ten (10) business days after written

 notice to the Debtors from PeoplesBank; (b) the failure of the Debtors to maintain the Required

 Collateral Level for two consecutive months; (c) the failure of the Debtors to provide any report

 required by Section 5.1.4 of the Plan to PeoplesBank when and as due, which failure continues for

 more than five (5) business days after written notice to the Debtors from PeoplesBank; or (d) the

 occurrence of an “Event of Default” under any of Sections 7.02 through 7.12 of the Loan

 Agreement, provided, however, that the filing of the Chapter 11 Case shall not constitute a Peoples

 Plan Default. Nonetheless, all defaults under the Loan Agreement existing as of the Effective Date

 are waived.

        5.1.6 PeoplesBank will retain its security interest in the Debtors’ Personal Property as

 such lien exists pre-Petition under the loan agreement between the Debtors and PeoplesBank, and

 as modified in the various Cash Collateral Orders. Such retention of a security interest in the

 Debtors’ Personal Property shall continue until such time as the New Peoples Secured Claim is

 paid in full. Upon the New Peoples Secured Claim being paid in full, the security interest in the

 Debtors’ Personal Property shall be released by PeoplesBank and shall be deemed satisfied without

 further Order of Court or further recordation of any document.




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 5.2    Class 5         General Unsecured Creditors

        5.2.1 Class 5A and Class 5B shall include all other Claim holders of the Debtors who are

 not otherwise classified under the Plan, including all general unsecured creditors, except for Class

 6, Personal Injury Claims.

        5.2.2 Beginning six (6) months after the Effective Date, the General Unsecured Creditors

 shall be paid twenty percent (20%) of each allowed Class 5 Claim, payable in three (3) equal

 annual installments of 6.67%) each. Each of the payments to Classes 5A and 5B shall be made by

 the appropriate Debtor which owes the Claim.

 5.3    Class 7         Equity Holder

        5.3.1 Each of the Debtors’ equity is held as follows:

                        Mechanicsburg: James Foulke 90% and Joseph Murray 10%

                        South Philadelphia: James Foulke 90% and Joseph Murray 10%

        5.3.2 Each equity holder will continue to hold the equity subsequent to the

 Effective Date of the Plan in the same percentage as exists pre-Petition, provided, however,

 that as of the Effective Date, the Debtors retain the right to cancel the equity and issue new

 equity in the same amount of percentages as exist pre-Petition.

                                     ARTICLE VI
                          MEANS FOR EXECUTION OF THE PLAN


 6.1    Operations of the Debtor

        The Debtors intend to continue to operate each of the Facilities in its skilled nursing

 business. Revenue will continue to be generated by billing Medicare, Medicaid and private

 insurers. The Debtors believe they will generate sufficient income from its operations to

 provide for sufficient cash to fund the Plan of Reorganization.

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 6.2    Sale of Assets

        The Debtors retain the right to sell any of their Assets. The Debtors are not required

 to sell any Assets.

                                    ARTICLE VII
                               EXECUTORY CONTRACTS


 7.1    Mechanicsburg Contracts and Leases.

        7.1.1 Real Estate Lease

        The real property lease by Mechanicsburg of its Facility from FSA Realty

 Associates, LLP, is assumed as of the Effective Date, to the extent not previously assumed.

        7.1.2 Delcrest Medical Services, LLC

        Mechanicsburg’s lease with Delcrest Medical Services, LLC, for room furnishings

 has been paid in full. No assumption or rejection is necessary.

        7.1.3 Hewlett Packard Financial Services

        Mechanicsburg’s lease with Hewlett Packard Financial Services concerning

 computer equipment, no longer exists. No assumption or rejection is necessary.

        7.1.4 Marlin Business Bank

        The lease of Mechanicsburg with Marlin Business Bank for resident room furniture

 is assumed as of the Effective Date of the Plan.

        7.1.5 PointClickCare

        Mechanicsburg’s lease with PointClickCare for computer software is assumed as of

 the Effective Date of the Plan.



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        7.1.6 Great American

        Mechanicsburg has two (2) leases with Great American Financial Services for

 Equipment. Both leases are assumed as of the Effective Date of the Plan.

 7.2    South Philadelphia Contracts and Leases.

        7.2.1 Real Estate Lease

        The real estate lease by South Philadelphia of its Facility from AC HSS, is assumed

 as of the Effective Date, to the extent not previously assumed. A lease assumption and

 amendment was approved by an Order of the Court dated August 24, 2020, in the South

 Philadelphia Case.

        7.2.2 Delcrest Medical Services, LLC

        South Philadelphia’s lease with Delcrest Medical Services, LLC, for room

 furnishings has been paid in full. No assumption or rejection is necessary.

        7.2.3 Hewlett Packard Financial Services

        South Philadelphia’s lease with Hewlett Packard Financial Services concerning

 computer equipment, has been paid in full. No assumption or rejection is necessary.

        7.2.4 Pitney Bowes Global Financial Serv.

        The lease by South Philadelphia with Pitney Bowes Global Financial Serv. for a

 postage meter, is assumed as of the Effective Date of the Plan.

        7.2.5 PointClickCare

        South Philadelphia’s lease with PointClickCare for computer software is assumed

 as of the Effective Date of the Plan.



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 7.3    Management Agreement
        The Management Agreement between each of the Debtors and Fox Subacute Management

 is assumed as of the Effective Date of the Plan. Any Claim of Fox Subacute Management against

 the Debtor or the Debtors claims against Fox Subacute Management resulting from underpayment

 of management fees or reimbursement for health insurance claims as of the Effective Date is

 expressly waived.

 7.4    Insurance Contracts for All Debtors

        Any contract for insurance coverage as to any of the Debtors’ Assets or as to any

 Debtors’ business operations, or employees as may exist and as may be in effect as of the

 Confirmation Date will be assumed as of the Effective Date of the Plan, until terminated

 under the terms of any such insurance agreement.

 7.5    Provider Agreements and Governmental Agreements

        Any provider agreements with a medical insurance provider, the United States

 Department of Health and Human Services for Medicare, or with any other governmental

 agency, the state or managed care company for reimbursement of medical costs or also to

 governmental licensing, certificates, bed approvals or similar agreements, are assumed as

 of the Effective Date of the Plan.

 7.6    Other Contracts for All Debtors

        Any leases or agreements for cell phone use, or any other licenses or utility

 agreements are assumed under the Plan as of the Effective Date. Any other contracts or

 leases not specifically set forth in this Article VII, shall be rejected as of the Effective Date

 of the Plan.

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 7.7    Arrearages

        Any lessor, to any of the Debtors, or contract party which believes it may have a

 claim for arrearages for any lease or contract assumed hereunder must provide the amount

 of such arrearages to the Debtors within twenty (20) days after Confirmation of the Plan.

 7.8    Rejection Claim

        Any Claim based upon a rejected contract or lease shall be required to be filed on

 or before twenty (20) days subsequent to the Confirmation Date of the Plan or such Claim

 shall be deemed barred. Except as otherwise set forth in this Plan, all such Claims shall be

 under and pursuant to and subject to the provisions of Section 365 of the Code.

                                ARTICLE VIII
                  PROCEDURE FOR RESOLVING DISPUTED CLAIMS


 8.1    Objections to Claims.

        The Debtors reserve the right to object to any Claims as filed with the Court. The

 time period for the Objections to Claims may be set by the Court at the Confirmation

 Hearing or at such other date; provided, however, that no objection to the Peoples Line of

 Credit shall be filed after the Confirmation Hearing, with respect to such Claim as filed

 prior to the Confirmation Hearing. Any Objections shall be served upon the holder of the

 Claim to which an Objection is made.

 8.2    Prosecution of Pending Objections to Claims.

        Objections to Claims that are pending as of the Confirmation Date, or were made

 after the Confirmation Date, shall be prosecuted after the Confirmation Date.           The




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 objecting party shall have the discretion to litigate to judgment, settle or withdraw

 Objections to disputed Claims.

 8.3    Payment of Disputed Claims.

        Except as may be otherwise agreed with respect to any disputed Claim, no payments

 shall be paid with respect to all or any portion of a disputed Claim unless and until all

 Objections to such disputed Claim have been determined by a final Order. Payments and

 distributions to each holder of a disputed Claim, to the extent that it ultimately becomes an

 allowed Claim shall be made in accordance with the provisions of this Plan. Upon

 resolution of the disputed Claim, final distribution, pro rata, shall occur. The Debtors

 reserves the right to propose a payment schedule as to any such disputed Claim which

 differs from that of other unsecured Claim holders.

 8.4    Payments to Unsecured Creditors.

        Payments to Unsecured Creditors shall occur through the Debtors or through the

 Debtors’ bankruptcy attorneys, Cunningham, Chernicoff & Warshawsky, P.C.                   If

 Cunningham, Chernicoff & Warshawsky, P.C. conducts any disbursements, such firm

 shall be permitted to impose a reasonable charge upon the distribution to unsecured

 creditors for such services.

                                 ARTICLE IX
                    RETENTION AND ENFORCEMENT OF CLAIMS
                                  BELONGING TO THE ESTATE

 9.1

        All preference Claims pursuant to Section 547 of the Code, all fraudulent

 transfer Claims pursuant to Section 548 of the Code, all Claims relating to post-
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 Petition transactions under Section 549 of the Code, all Claims recoverable under

 Section 550 of the Code, all Claims against a third party on account of an

 indebtedness, and any other Claims owed to or in favor of the Debtors, are hereby

 preserved and retained for enforcement subsequent to the Effective Date of the Plan

 by the Debtors, or the Committee in the event any such Claims are assigned to the

 Committee. Notwithstanding the foregoing, no claims under Section 547, 548, 549, or

 550 of the Code shall be asserted against PeoplesBank after the Confirmation Hearing if

 the Plan is confirmed and the Effective Date occurs.


                                      ARTICLE X
                                CONFIRMATION REQUEST


 10.1   Impaired Classes to Vote.

        Only Classes of creditors and interest holders that are impaired shall be entitled to

 vote as a Class to accept or reject the Plan. Those Classes of creditors which are not

 impaired or are not classified, that is Classes 1A, 1B, 2A, 2B 3A, 3B, 6A and 6B, shall not

 be permitted to vote on the Plan.

 10.2   Acceptance by a Class of Creditors.

        A Class of creditors shall have voted to accept the Plan if the Plan is accepted by

 creditors of such Class that holds at least two-thirds (2/3) of the aggregate dollar amount,

 and more than one- half (½) in number of the allowed Claims of creditors of such Class

 that vote to accept or reject the Plan.




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 10.3   Confirmation Request.

        If one or more impaired Classes of Claims or interests fails to accept the Plan under

 Section 1126 of the Code and all of the applicable requirements of Section 1129(a) of the

 Code have been satisfied other than Section 1129(a)(8) of the Code, the Debtors requests

 that the Court confirm the Plan pursuant to the provisions of Section 1129(b) of the Code

 as it applies to Claims and Interests. In the event that any of classes 5A or 5B, each of

 which is a class of unsecured Claim holders, has not accepted the Plan in the requisite

 numbers which are necessary and required under Section 1126 of the Code, then as part of

 the confirmation process for that particular Debtor and in a Motion for Confirmation that

 particular Debtor may make available to other parties the right to bid for the equity of the

 Debtor consisting of the ownership of that particular Debtor, provided that any such bid is

 on certain terms and conditions to be further determined. Included in such terms and

 conditions is the requirement that any obligation or guaranty by the current equity holders

 in any of the Debtors’ cases, that is Fox Subacute Management, James M. Foulke, Joseph

 F. Murray, or Ellen Foulke, of any Debtors’ obligations to creditors be removed or replaced

 by the new obligors or guarantors acceptable to any such creditor. Any such acquisition

 of the equity will also have the requirement that any payment by such acquiring party

 indemnify the particular Debtor as to the secured debt. The owners of any of the Debtors

 may also place new value into that particular Debtor’s estate as may be necessary, in the

 event that a class of unsecured Claims does not accept the Plan as required by Section 1126

 of the Code.   These requests will be required by the procedure under the Confirmation


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 Process in the event that the requisite number of votes under Section 1126 of the Code in

 favor of the Plan does not occur.

                                          ARTICLE XI
                                          DISCHARGE


 11.1

        11.1.1 The entry of an Order of the Bankruptcy Court confirming this Plan acts as a

 discharge, effective as of the Effective Date, of any and all debts of each Debtor, pursuant to

 Section 1141 of the Bankruptcy Code, including, but not limited to all principal and interest of

 discharged Claims. Provided that the Effective Date occurs, all creditors are limited, pursuant to

 Section 1141 of the Code, and pursuant to this Plan, to the remedies provided by this Plan and the

 Code for all Claim holders and equity holders, including contingent and disputed Claims which

 are not otherwise allowed Claims, and including any lease or executory contract rejection Claims.

                                          ARTICLE XII
                                          INJUNCTION


 12.1

        All creditors of the Debtors are limited, pursuant to Section 1141 of the Code,

 to the treatment provided by this Plan and the Code for all Claim holders and equity

 holders, including contingent and disputed Claims which are not otherwise Allowed

 Claims. Further, as of the Effective Date, this Plan shall act as an injunction against

 and shall enjoin all holders of a debt held by a Claim holder, whether or not (i) a proof

 of Claim based on such debt is filed or deemed filed under Section 501 of the Code;

 (ii) such Claim is allowed under Section 502 of the Code; or (iii) the holder of such


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 Claim has accepted the Plan; from seeking payment of such Claim from the Debtors,

 other than as set forth in this Plan. The remedy for the breach of a provision of this

 Plan, shall be an action in this Bankruptcy Court. If a Peoples Plan Default occurs as

 to any required payment of the New Peoples Secured Claim, following the notice

 without a cure, set forth in Section 5.1.5, PeoplesBank may pursue the rights and

 remedies available to it under non-bankruptcy law. The stay shall remain in effect as

 to any action against the Debtors through the Effective Date, when it is replaced by

 the injunction in this Section and Sections 524(a) and 1141 of the Code; and Claim

 holders are limited to the remedies set forth herein, under the Code and under

 applicable law. In the event that any Claim holder believes that a debt has not been

 paid as required under the Plan, such Claim holder is limited to remedies as provided

 under the Bankruptcy Code and applicable law.

       Further, in the event of non-payment under this Plan other than non-payment

 of the New Peoples Secured Claim, no default may occur until after the expiration of

 twenty (20) days after receipt of notice of such non-payment has been received by the

 Debtors and its counsel, Cunningham & Chernicoff, P.C., Debtors’ counsel, without

 cure of the non-payment. Such notice is to be forwarded to Debtors’ counsel at the

 address set forth at the end of this Plan.




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                                       ARTICLE XIII
                                        REVESTING
 13.1

        On the date Effective Date, the Debtors shall be revested with all of their property

 then existing, free and clear of all Claims, liens and encumbrances arising prior to the date

 of the entry of the Confirmation Order, except as provided in Article V of the Plan. Under

 Article V of the Plan, the PeoplesBank lien on each Debtors’ Personal Property, except for

 vehicles, shall be retained by such Claim holder, as set forth in Article V of the Plan.

                                 ARTICLE XIV
                       PROFESSIONALS AND THE COMMITTEE


 14.1

        The Class 1 professional administrative Claim holders are believed to be

 Cunningham & Chernicoff, P.C., counsel to the Debtors, Isdaner & Company, LLC,

 accountants to the Debtors, Three Twenty-One Capital Partners, LLC, the investment

 banker to the Debtors and Kennedy P.C., Post & Schell and German Gallagher & Murtagh,

 special counsel to the Debtors and Flaster Greenberg, P.C., counsel to the Committee, and

 Getzler, Henrich & Associates, LLC, financial advisor to the Committee.

 14.2

        All allowed costs of administration for professionals shall be paid as set forth in

 Section 4.1 of the Plan. All professionals employed by the Debtors shall continue to be

 employed and to be entitled to compensation from the estate for their services after the

 Effective Date on a regular ongoing basis. To the extent that any approvals are necessary

 which have not occurred as to any professional services, and such approval has not yet

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 been entered by the Court, then an amount is to be escrowed and set aside on the

 Confirmation Date. To the extent that any services have been performed by professionals

 subsequent to the Confirmation Date of this Plan or any modification of this Plan, or the

 Debtors employs new professionals Post-Confirmation, such services and payments will

 not be subject to the review and approval of the Court. All reasonable fees for professionals

 shall be paid in the ordinary course by the Debtors.

 14.3

        Upon the Effective Date, the Creditors’ Committee shall dissolve as to its

 existence. The retention of all professionals retained by the Committee shall also

 cease as of the Effective Date.


                                       ARTICLE XV
                                     MISCELLANEOUS
 15.1

        The Debtors have filed a Motion to fix a Bar Date as to Claims. Notice of such Bar

 Date has been provided to creditors. The Bar Date is February 27, 2020.

 15.2

        The "Effective Date of the Plan" will be the first day of the calendar month following

 sixty (60) days after the Confirmation Order becomes final, and shall not have been

 reversed, stayed, or adversely modified or amended. Such date shall be subject to the right

 of the Debtors to request that the Court extend the Effective Date. The Debtors may request

 that the Effective Date be extended in the event that a standard termination of the Pension

 Plan has occurred.

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 15.3

        Upon the Confirmation Order becoming a Final Order, the Debtors, their creditors

 and Claim holders, and equity interest holders shall be legally bound by the Plan, whether

 or not they have accepted the Plan.

 15.4

        The transfer of any assets including any real estate, if any, during the pendency of

 this case, or after Confirmation, shall constitute a transfer under this Plan within the

 purview of Code Section 1146(c) and shall not be subject to transfer, stamp or similar taxes

 under any law.

 15.5

        All quarterly fees due and owing to the United States Trustee under 28 U.S.C. §1930

 for the period of time up to Confirmation shall be paid pursuant to Article IV, Section 4.2

 of the Plan when due. All quarterly fees for the U.S. Trustee for the period after

 confirmation of the Plan shall be paid pursuant to Section 15.6 below and in the ordinary

 course.

        The Debtors each may seek as soon as possible, upon proper Motion, for the closing

 of the case in accordance with the provisions of the Bankruptcy Code and dependent upon

 the activity in the case and as to the Plan. Until such time as the Court, upon Motion, orders

 the closing of the case, the Debtors shall be subject to such provisions as are relevant as to

 the payment of quarterly fees to the Office of the U.S. Trustee.




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 15.6

        Any and all Claims which are listed in the Bankruptcy Schedules as disputed,

 contingent or unliquidated, and for which no proper Proof of Claim has been filed prior to

 a claims bar date, shall be disallowed, and shall not be entitled to vote on the Plan, including

 any rejection Claims on account of any leases or executory contracts. If there is an

 objection pending as to a Claim when voting is to occur, such Claim holder shall not have

 its Claim considered for voting purposes until such Claim is allowed by the Court or the

 Court has entered an Order estimating such holder’s claim for voting purposes pursuant to

 Section 502(c) of the Code and Rule of Bankruptcy Procedure 3018(a). Further, the Notice

 and Order approving the Disclosure Statement may contain therein a notice providing for

 a bar date for the filing of a proper Proof of Claim.

 15.7

        Any Class that is unimpaired or not classified shall not vote on the Plan and the

 Debtors, at their option, shall not be required to send a Disclosure Statement and Plan to

 Claim holders in such Class.

 15.8

        Any amount set forth by a Claim holder on any ballot solicited in this case and voted

 by a Claim holder shall not be binding upon the Debtors, but rather, the amounts scheduled

 by the Debtors, if not disputed, contingent or unliquidated, or as set forth in a Proof of

 Claim filed by a Claim holder, as allowed by the Court, shall control the amount of a

 creditor's Claim for purposes of voting on the Plan, or distribution under the Plan. Further,

 in the event that a creditor sets forth an incorrect Class for its Claim on any ballot voted on
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 this Plan, then the Debtors reserve the right to correct such ballot to set forth the proper

 Class. Except as previously resolved by a Final Order, the Debtors reserve the right to

 object to any and all Claims filed in this Case, including any late filed Claims, which

 Claims are filed after the bar date established by the Court. Unless a Court Order provides

 otherwise, late filed Claims will not share in any distribution under the Plan.

 15.9

         Except to the extent that the Code is applicable, the rights and obligations arising

 under the Plan shall be governed by, and construed and enforced in accordance with, the

 laws of the Commonwealth of Pennsylvania.

 15.10

         In the event and to the extent that any provision of the Plan is inconsistent with the

 provisions of the Disclosure Statement, the provisions of the Plan shall control and take

 precedence, subject, however, to any Order previously entered in this Case.

 15.11

         The automatic stay of 11 U.S.C. §362 shall remain in effect as under Section 12.1

 of the Plan and subject to the injunction set forth in Section 12.1 of the Plan, and under the

 Bankruptcy Code.

 15.12

         After the Effective Date, the Debtors may, and so long as it does not materially and

 adversely affect the interests of any claimant, remedy any defect or omission, or reconcile

 any inconsistencies in the Plan or in the Order Confirming the Plan, and such matters as



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 may be necessary to carry out the purposes and effect of the Plan and without leave of the

 Court, except as required by the Plan or the Code.

 15.13

         After the Effective Date, the Debtors may take such actions as necessary to

 effectuate the Plan without leave of Court, except as required by the Plan or the Code.

 15.14

         Pursuant to Sections 105, 524, or 1141 of the Bankruptcy Code, upon the

 Effective Date, Debtors’ counsel and professionals shall be deemed released and held

 harmless in connection with any Claims, charges or liabilities arising directly or

 indirectly in connection with their service during the Chapter 11 cases, or the

 representation of the Debtors, except to the extent such liability arose out of fraud,

 willful or reckless conduct.

 15.15

         The Debtors and their employees or agents (including the professionals and

 any other professionals retained by such persons) shall have no liability to any holder

 of a Claim or equity interest for any act or omission in connection with, or arising out

 of the formulation of the Plan, the pursuit of approval of the Disclosure Statement for

 the Plan, or the solicitation of votes for or confirmation of the Plan, the consummation

 of the Plan, or the administration of the Plan or the property to be distributed under

 the Plan, except for willful misconduct or gross negligence and, in all respects, shall

 be entitled to rely upon the advice of counsel with respect to their duties and

 responsibilities under the Plan. Nothing contained in this Section shall be deemed to
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 cause a release of any personal guarantee of any party, as to any of the Claims against

 the Debtors, to the extent that such exist. The Release contained herein is intended to

 be only with respect to the Plan and Disclosure Statement process.

 15.16

         For purposes of payments under the Plan to all Claim holders, the Disbursing Agent

 shall be the Debtors or their counsel, with respect to unsecured creditors. If counsel to the

 Debtors is the disbursing agent, it may charge a reasonable fee for disbursement. The

 Debtors will pay secured creditors.

 15.17

         Any distribution under the Plan that is returned as undeliverable shall be retained

 by the Debtors after any applicable period of time for retention has expired.

                                 ARTICLE XVI
                    PRIOR ORDERS OF THE BANKRUPTCY COURT


 16.1

         Prior Orders of the Bankruptcy Court in the Chapter 11 case are incorporated in this

 Plan and made a part hereof, to the extent not inconsistent herewith.

                                    ARTICLE XVII
                              MODIFICATION OF THE PLAN


 17.1    Before Confirmation.

         At any time prior to Confirmation, the Debtors may propose amendments or

 modifications of the Plan at any time, but such modification may not cause the Plan, as

 modified, to fail to meet the requirements of Sections 1122 and 1123 of the Bankruptcy


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 Code. If the Debtors file a modification or amendment with the Bankruptcy Court, the

 Plan as modified or amended shall become the Plan.

 17.2   After Confirmation.

        At any time after Confirmation, the Debtors may, and so long as it does not

 materially or adversely affect the interests of creditors, remedy any defect or omission, or

 reconcile any inconsistencies in the Plan, or in the Order of Confirmation, in such manner

 as may be necessary to carry out the purposes and effect of the Plan. Further, the Debtors

 may, with approval of the Court, after notice and hearing, modify or amend the Plan to the

 extent it may materially or adversely affect creditors, and if the Court confirms such Plan

 as modified or amended, such modified or amended Plan shall become the Plan.

                                      ARTICLE XVIII
                               JURISDICTION OF THE COURT
 18.1

        The United States Bankruptcy Court for the Middle District of Pennsylvania will

 retain jurisdiction until this Plan has been fully consummated, or as otherwise Ordered by

 the Court, notwithstanding the administrative closing of the Chapter 11 Case, including,

 but not limited to the following purposes:

                a.      The classification of the Claim of any creditor and the re-examination of
        Claims which have been allowed in this case, and the determination of such objections as
        may be filed to creditors' Claims including as to the amount of any Claim or Administrative
        Claim. The failure by the Debtors to object to, or to examine any Claim for the purposes
        of voting on any plan, shall not be deemed to be a waiver of the Debtors’ right to object to,
        or re-examine the Claim in whole or in part.

                b.     Determination of all questions and disputes regarding title to the assets of
        the Debtors’ estate, and determination of all causes of action, controversies, disputes,
        conflicts, whether or not subject to action pending as of the date of confirmation, between
        the Debtors and any other party, including, but not limited to any right of the Debtors to

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      recover assets, including accounts receivable, preferences and fraudulent conveyances,
      pursuant to the provisions of the Bankruptcy Code.

             c.      The correction of any defect, the curing of any omission, or the
      reconciliation of any inconsistency in this Plan or the Order of confirmation as may be
      necessary to carry out the purposes and intent of this Plan.

             d.     The modification of this Plan after confirmation pursuant to the Bankruptcy
      Rules and the Bankruptcy Code and pursuant to this Plan.

             e.     To enforce and interpret the terms and conditions of this Plan.

             f.     To approve, if necessary, the sale of any assets of the Debtors upon such
      terms and conditions to be set forth in the proposed sale.

              g.     To enter any order, including injunctions, necessary to enforce the title,
      rights, and powers of the Debtors and to impose such limitations, restrictions, terms, and
      conditions of such title, rights, and powers as this Court may deem necessary, and to
      enforce the terms and provisions of this Plan.

              h.      To determine any and all applications, motions, adversary proceedings and
      contested matters, whether pending before the Court on the Effective Date, or filed or
      instituted after the Effective Date, including, without limitation, proceedings to recover
      voidable transfers under the Code or other applicable law.




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